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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

TIKTOK INC.,

Plaintiff,
CV-23-61-DLC
v.
ORDER GRANTING MOTION
FOR PRO HAC VICE ADMISSION
OF ALEXANDER A. BERENGAUT

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the
State of Montana,

Defendant.

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Plaintiff has moved for the admission of Alexander A. Berengaut to practice
before this Court in this case with Rob Cameron and Nathan D. Bilyeu to act as local
counsel. Mr. Berengaut’s application appears to be in order.

Accordingly, IT IS HEREBY ORDERED that Plaintiff's motion to admit
Mr. Berengaut pro hac vice is GRANTED, subject to the following conditions:

Local counsel shall exercise the responsibilities required by L.R. 83.1(d)(5)
and must be designated as lead counsel or as co-lead counsel;

1. | Alexander A. Berengaut must do his own work. He must do his own
writing, sign his own pleadings, motions, briefs and other documents served or
filed by him, and, if designated, co-lead counsel must appear and participate

personally in all proceedings before the Court.
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2. The Applicant Attorney shall take steps to register in the Court’s
electronic filing system (“CM-ECF”). Further information is available on the
Court’s website, www.mtd.uscourts.gov.

3. Local counsel shall also sign all such pleadings, motions and briefs
and other documents served or filed.

4. Admission is personal to Alexander A. Berengaut.

5. Local counsel will provide a copy of this order to pro hac counsel.

IT IS FURTHER ORDERED that:

Alexander A. Berengaut shall file, within fifteen (15) days from the date of
this Order, an acknowledgement and acceptance of his admission under the terms
set forth above.

DATED this day of. , 2023.

 

Dana L. Christensen, District Judge
United States District Court
